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               UNITED STATES BANKRUPTCY COURT
                                Western District of Kentucky
      IN RE:                                                        Case No.:20−10057−jal
      Joe David Pitcock
                                                                    Chapter: 13
                                 Debtor(s)                          Judge: Joan A. Lloyd




                                             NOTICE
      TO THE DEBTOR(S) AND ALL PARTIES IN INTEREST:

      Please be advised that the following matter has been Entered by the Court on this date:

      Order of the Court to RESCHEDULE the hearing scheduled for March 19, 2020 on
      Motion to Strip Off Junior Lien of The Medical Center at Albany, et al regarding House
      & 1 acre located at 12385 Glasgow Road, Burkesville, KY 42717. Filed by Debtor Joe
      David Pitcock 15 , so ORDERED by /s/ Judge Lloyd. Hearing scheduled for 4/16/2020
      at 09:00 AM at Warren Co Justice Center, Circuit Courtroom B, 1001 Center St,
      Bowling Green, KY 42101(CENTRAL TIME). cc: Service list/Creditor, The Medical
      Center at Albany, et al(Goss, K)This Notice of Electronic Filing is the Official ORDER
      for this entry. No document is attached.



      Dated: 3/16/20
                                                           FOR THE COURT
      By: kg                                               Elizabeth H. Parks
      Deputy Clerk                                         Clerk, U.S. Bankruptcy Court
